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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS


FOUR WOMEN HEALTH SERVICES, LLC,

                        Plaintiff,

v.                                                                    24-12283
                                                    Civil Action No. ____________

ABUNDANT HOPE PREGNANCY
RESOURCE CENTER INC., d/b/a                         REQUEST FOR ORAL ARGUMENT
ATTLEBORO WOMEN’S HEALTH CENTER,
CATHERINE ROMAN, NICOLE CARGES,
and DARLENE HOWARD,


                        Defendants.


               PLAINTIFF’S MOTION FOR A PRELIMINARY INJUNCTION

         Pursuant to Rule 65 of the Federal Rules of Civil Procedure, Plaintiff Four Women Health

Services, LLC (“Four Women”) hereby moves for a preliminary injunction directing that

Defendant Abundant Hope Pregnancy Resource Center Inc., d/b/a Attleboro Women’s Health

Center (“AWHC”), Catherine Roman, Nicole Carges, and Darlene Howard (collectively,

“Defendants”), their respective agents, partners, employees, successors, assigns, and any persons

in active concert or participation with them:

             1. Cease and refrain from accessing any Four Women computer system, including

                Four Women’s account pages on web-based platforms;

             2. Cease and refrain from accessing, obtaining, or otherwise interfering with Four

                Women’s communications with patients1;

             3. Refrain from using any information Defendants have already obtained from

                unlawfully intercepting communications between Four Women and its patients—




1
    As used herein, “patients” encompasses both existing and prospective Four Women patients.

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              including the identity and contact information of such patients—to contact or

              communicate with such patients; and

          4. Specifically refrain from contacting or communicating with the Jane Does

              identified in the Complaint, whose contact information was obtained unlawfully.

       In support of this Motion, Four Women relies upon its Memorandum of Law in Support of

its Motion for a Preliminary Injunction, the Affidavit of Robert Knapp, and the Declaration of

Emily Nash.

       For the reasons set forth in the accompanying Memorandum, Four Women requests that

the Court issue a preliminary injunction in the form of Four Women’s Proposed Order Granting

Its Motion for a Preliminary Injunction, attached as Exhibit A to the accompanying Memorandum.

       Four Women requests oral argument on this Motion.




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DATED: September 5, 2024            Four Women Health Services, LLC,

                                    By its attorneys,



                                    /s/ Matthew Patton   _________
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                               CERTIFICATE OF SERVICE

       I, Matthew Patton, hereby certify that on September 5, 2024, I served the within document
on Defendants at the following addresses:


       Abundant Hope Pregnancy Resource Center Inc., d/b/a Attleboro Women’s Health Center
       152 Emory St. Unit 4
       Attleboro, Massachusetts 02703

       Catherine Roman
       52 Rocky Knoll Road
       North Attleboro, Massachusetts 02760

       Nicole Carges
       39 Raymond Tatro Ln.
       North Attleboro, Massachusetts 02760

       Darlene Howard
       21 Williams Street
       Mansfield, Massachusetts 02048



                                                   /s/ Matthew Patton
                                                   Matthew Patton




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